                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SACR 19-96JVS

 Defendant           Luis Guzman                                             Social Security No. 9         8   9     2
 akas:   Luis Martinez Guzman                                                (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                    MONTH      DAY     YEAR
             In the presence of the attorney for the government, the defendant appeared in person on this date.          10     19      2020

  COUNSEL                                                                Kelley Munoz, DFPD
                                                                             (Name of Counsel)

      PLEA           X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
     FINDING          There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Distribution of Methamphetamine in violation of 21 USC Section 841(a)(1), (b)(1)(A)(viii) as chraged in Count 2 of the
                     Indictment

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of: 120      Months on Count 2 of the Indictment

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25
per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

Pursuant to Guideline Section 5E1.2(a), all fines are waived as the Court finds that the defendant has established
that he is unable to pay and is not likely to become able to pay any fine.

The Court recommends that the Bureau of Prisons conduct a physical health evaluation of the defendant and
provide all necessary treatment. The Court further recommends that the Bureau of Prisons evaluate the defendant
for participation in the Bureau of Prisons’ 500-hour Residential Drug Abuse Program (RDAP).

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of five (5) years
under the following terms and conditions:

1. The defendant shall comply with the rules and regulations of the United States Probation and Pretrial
Services Office and General Order 20-04, excluding Condition 14 in Section I of that Order.
2.     During the period of community supervision, the defendant shall pay the special assessment
in accordance with this judgment's orders pertaining to such payment.

3.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

4.       The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
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submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

5.    The defendant shall refrain from the use of alcohol and shall submit to breathalyzer testing, not to
exceed eight (8) tests per month, to determine if the defendant has consumed alcohol.

6.     The defendant shall participate in an outpatient substance abuse treatment and counseling program
that includes urinalysis, breath, and/or sweat patch testing, as directed by the Probation Officer. The
defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription medications,
during the period of supervision.

7.      During the course of supervision, the Probation Officer, with the agreement of the defendant and
defense counsel, may place the defendant in a residential drug treatment program approved by the U.S.
Probation and Pretrial Services Office for treatment of narcotic addiction or drug dependency, which may
include counseling and testing to determine if the defendant has reverted to the use of drugs. The defendant
shall reside in the treatment program until discharged by the Program Director and Probation Officer.

8.      As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-
ordered treatment to the aftercare contractors during the period of community supervision. The defendant
shall provide payment and proof of payment as directed by the Probation Officer. If the defendant has no
ability to pay, no payment shall be required.

9.     The defendant shall submit his person, property, house, residence, vehicle, papers, computers [as
defined in 18 U.S.C. § 1030(e)(1)], cell phones, other electronic communications or data storage devices
or media, office, or other areas under the defendant’s control to a search conducted by a United States
Probation Officer or law enforcement officer. Failure to submit to a search may be grounds for revocation.
The defendant shall warn any other occupants that the premises may be subject to searches pursuant to this
condition. Any search pursuant to this condition will be conducted at a reasonable time and in a reasonable
manner upon reasonable suspicion that the defendant has violated a condition of his supervision and that
the areas to be searched contain evidence of this violation.

10.    The defendant may not associate with anyone known to him to be a member of the Eastside
Anaheim Street Gang and others known to him to be participants in the Eastside Anaheim Street Gang’s
criminal activities. He may not wear, display, use or possess any gang insignias, emblems, badges, buttons,
caps, hats, jackets, shoes, or any other clothing that defendant knows evidence affiliation with the Eastside
Anaheim Street Gang and may not display any signs or gestures that defendant knows evidence affiliation
with the Eastside Anaheim Street Gang.

11.    As directed by the Probation Officer, the defendant shall not be present in any area known to him
to be a location where members of the Eastside Anaheim Street Gang meet and/or assemble, with the
exception that he may reside with his wife at her residence.

The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse treatment
provider to facilitate the defendant's treatment for narcotic addiction or drug and alcohol dependency. Further


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redisclosure of the Presentence Report by the treatment provider is prohibited without the consent of the
sentencing judge.

Defendant is advised of his appeal rights. The Court recommends that the defendant be housed at a
facility that has an RDAP as first priority and as a second priority a facility in Southern California.
On the Government's motion, Count 1 is ordered dismissed.



 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and Supervised Release
 within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of supervision, and at any time during
 the supervision period or within the maximum period permitted by law, may issue a warrant and revoke supervision for a violation occurring during the
 supervision period.




            October 20, 2020
            Date                                                         U. S. District Judge James V Selna

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                         Clerk, U.S. District Court




            10/20/20                                              By
            Filed Date                                                   Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                      STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                      While the defendant is on probation or supervised release pursuant to this judgment:

 1.    The defendant must not commit another federal, state, or local            9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                          in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal                convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a               officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                      the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                    that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by              rehabilitation;
       the court or probation officer;                                           10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                    purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation                controlled substance, or any paraphernalia related to such substances,
       officer;                                                                        except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation       11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment               arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;              12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation               destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before     13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                   enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;                 permission of the court;
 7.    The defendant must permit the probation officer to contact him or         14.   As directed by the probation officer, the defendant must notify specific
       her at any time at home or elsewhere and must permit confiscation               persons and organizations of specific risks posed by the defendant to
       of any contraband prohibited by law or the terms of supervision and             those persons and organizations and must permit the probation officer to
       observed in plain view by the probation officer;                                confirm the defendant’s compliance with such requirement and to make
 8.    The defendant must work at a lawful occupation unless excused by                such notifications;
       the probation officer for schooling, training, or other acceptable        15.   The defendant must follow the instructions of the probation officer to
       reasons and must notify the probation officer at least ten days                 implement the orders of the court, afford adequate deterrence from
       before any change in employment or within 72 hours of an                        criminal conduct, protect the public from further crimes of the
       unanticipated change;                                                           defendant; and provide the defendant with needed educational or
                                                                                       vocational training, medical care, or other correctional treatment in the
                                                                                       most effective manner.




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             The defendant must also comply with the following special conditions (set forth below).


                        STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

            The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or restitution is paid
 in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject to penalties for default and
 delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable for offenses completed before April 24,
 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the balance as directed
 by the United States Attorney’s Office. 18 U.S.C. § 3613.

             The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or residence address
 until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

            The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the defendant’s economic
 circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k). The Court may also accept such
 notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust the manner of payment of a fine or restitution
 under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                      States is paid):
                                 Non-federal victims (individual and corporate),
                                 Providers of compensation to non-federal victims,
                                 The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

                     CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

             As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit report inquiries;
 (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with supporting documentation
 as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan or open any line of credit without prior approval
 of the Probation Officer.




           The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds must be
 deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts, including any business accounts,
 must be disclosed to the Probation Officer upon request.

          The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without approval of the
 Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                       These conditions are in addition to any other conditions imposed by this judgment.




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                                                                            RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                               to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                            to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                            United States Marshal



                                                                     By
             Date                                                           Deputy Marshal




                                                                          CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my legal custody.

                                                                            Clerk, U.S. District Court



                                                                     By
             Filed Date                                                     Deputy Clerk




                                                        FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision.

          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


          (Signed)
                     Defendant                                                              Date




                     U. S. Probation Officer/Designated Witness                             Date




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